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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO. 16-20575-CR-SCOLA


  UNITED STATES OF AMERICA

  vs.

  YINA MARIA CASTANEDA BENAVIDEZ,

                  Defendant.
                                               /

                   UNITED STATES OF AMERICA’S TRIAL WITNESS LIST


          The United States of America, by and through the undersigned Assistant United States

  Attorney, hereby submits this list of witnesses that the United States intends to call during its case-

  in-chief. The United States requests leave to call additional witnesses as may be needed during

  trial and reserves its right to call other witnesses in rebuttal.

          1. Colombian National Police Officer “Ana Maria”

          2. Ceneiber Quinones Jurado

          3. Jefferson Ali Sevillano Quinones

          4. Fausto Mario Gaspar Gonzalez

          5. Julio Armando Belalcazar Estacio

          6. Amanda M. Bourgeois (formerly Ontiveros-Lopez), United States Coast Guard

          7. Frank Caira, Drug Enforcement Administration

          8. Daniel Kane, Homeland Security Investigations

          9. Senior Forensic Chemist Jeanette M. Perr, Drug Enforcement Administration


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        10. Ariel Alberto Angulo Lasso

        11. Jefferson Xavier Bravo Espinosa

        12. Intelligence Analyst Manager Justin Miller, Drug Enforcement Administration



                                                    Respectfully submitted,


                                                    ARIANA FAJARDO ORSHAN
                                                    UNITED STATES ATTORNEY

                                              By:   /s/ Joseph M. Schuster
                                                    Joseph M. Schuster
                                                    Assistant United States Attorney
                                                    Southern District of Florida
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 5, 2019, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF.


                                              s/ Joseph M. Schuster
                                              Assistant United States Attorney




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